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                 EXHIBIT B
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

  SECURITIES AND EXCHANGE COMMISSION,

                        Plaintiff,

         v.
                                                                Case No. 3:23-cv-01124
  AMERICAN PATRIOT BRANDS, INC., URBAN
  PHARMS, LLC, DJ & S PROPERTY #1, LLC, TSL
  DISTRIBUTION, LLC, ROBERT Y. LEE, BRIAN
  L. PALLAS, AND J. BERNARD RICE,

                        Defendants, and

  PUERTO RICO ONE CORPORATION, CASTRO
  BUSINESS ENTERPRISES, LLC, AND LEGION
  ACCOUNTING SERVICES, INC.

                        Relief Defendants.


                     DECLARATION OF MICHAEL D. WHEATLEY

I, Michael D. Wheatley, of legal age, hereby declare pursuant to 28 U.S.C. § 1746 as follows:

   1. I am Of Counsel at the firm of Paul Hastings LLP and am counsel of record to American
      Patriot Brands, Inc. (“American Patriot Brands”), Urban Pharms, LLC (“Urban Pharms”),
      DJ & S Property #1, LLC (“DJ&S”), TSL Distribution, LLC (“TSL”), Robert Y. Lee
      (“Lee”), Brian L. Pallas (“Pallas”), J. Bernard Rice (“Rice”), collectively the Defendants,
      as well as Puerto Rico One Corporation (“PR One”), Castro Business Enterprises, LLC
      (“Castro Enterprises”), and Legion Accounting Services, Inc. (“Legion”), collectively
      Relief Defendants. All of the statements in this Declaration are true and correct to the
      best of my knowledge, information, and belief.

   2. American Patriot Brands and its subsidiaries Urban Pharms, DJ&S, and TSL legally
      cultivate and sell recreational cannabis in Oregon and transact business in California.
      American Patriot Brands’ documents and those of its subsidiaries are located at American
      Patriot Brands’ Newport Beach, California headquarters.

   3. Mr. Lee is American Patriot Brands’ CEO and Chairman of its Board of Directors. He is
      a resident of Newport Beach, California. Mr. Pallas is the Chief Operating Officer for
      American Patriot Brands, Urban Pharms, and TSL and is a member of American Patriot
      Brands’ Board. Mr. Pallas is a resident of Laguna Beach, California.

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4. In addition to Mr. Lee and Mr. Pallas, American Patriot Brands’ employees and key
   potential witnesses relating to the First Offering are based outside of the District of
   Puerto Rico:

       a. J. Bernard Rice. Mr. Rice, American Patriot Brands’ former Chief Financial
          Officer and Executive Vice President of Corporate Development, resident of
          Roswell, Georgia, will testify about the statements and communications issued to
          prospective investors and their representatives in the course of the First Offering.

       b. Lee Patin. Ms. Patin, American Patriot Brands’ Controller, resident of Yorba
          Linda, California, will testify about American Patriot Brands’ accounting and
          financial operations, including any alleged improper transfer of funds to the Relief
          Defendants.

       c. Robert Borland. Mr. Borland, American Patriot Brands’ Consultant, resident of
          Orange County, California, will testify about the presentations emailed to
          prospective investors and their representatives in the course of the First Offering.
          Compl. ¶¶ 30, 45–46.

       d. Chris Herk. Mr. Herk, American Patriot Brands’ Consultant, resident of
          Pennsylvania, will testify about the presentations emailed to prospective investors
          and their representatives in the course of the First Offering. Compl. ¶¶ 45–46.

       e. Chris Polasek. Mr. Polasek, American Patriot Brands’ former in-house counsel,
          resident of Florida, might testify about the presentations emailed to prospective
          investors and their representatives in the course of the First Offering. Compl. ¶¶
          45–46.

       f. Jonathan Morris. Mr. Morris, American Patriot Brands’ former Chief Financial
          Officer, resident of New York, will testify about his interactions with Accountant
          1. Compl. ¶ 56.

       g. Jon Zimmerman, MGMT. Mr. Zimmerman, a resident of Los Angeles,
          California, will testify about the alleged in-house valuation (the “APB
          Valuation”). Compl. ¶ 38.

       h. Tony Price, Hall & Company. Mr. Price, a resident of California and an auditor
          and Partner at Hall & Company, the California based audit firm engaged to audit
          American Patriot Brands’ financial statements during the relevant time period,
          will testify about American Patriot Brands’ audits, their methods, and results.
          Compl. ¶¶ 48–49.

       i. Marty Weigel. Mr. Weigel, resident of Reno, Nevada, referred to throughout the
          SEC’s Complaint as Accountant 1, will testify about his work on American
          Patriot Brands’ financial statements, his methods, and his findings. Compl. ¶ 54.



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       j. Oregon Appraisers. The appraisers who assessed the value of the Oregon Farm
          are located in Jackson County, Oregon, and will testify about their assessment of
          the Oregon Farm’s value. Compl. ¶ 33.

       k. Gen. Wesley Clarke. Gen. Clarke, resident of Little Rock, Arkansas, referred to
          in the SEC’s Complaint as a famous retired United States Army General, will
          testify about his relationship with American Patriot Brands. Compl. ¶ 29.

       l. Jeff Stuecken, Bay Valuation Advisors. Mr. Stuecken, resident of Boston,
          Massachusetts, will testify about the “BVA Appraisal,” its methods, and its
          results. Compl. ¶¶ 35-37.

       m. Investors 1 through 6. Investors 1 through 6, who do not reside in the
          Commonwealth of Puerto Rico, will testify about the communications and
          presentations received in the course of the First Offering.

5. In addition to Mr. Lee and Mr. Pallas, American Patriot Brands’ employees and key
   potential witnesses relating to the Second Offering are, for the most part, based outside of
   the District of Puerto Rico:

       a. John Randolph, Stonecrest Partners. Mr. Randolph, a resident of Texas and
          principal of Stonecrest Partners, the financial services company based in Austin,
          Texas, with an office in San Juan, Puerto Rico and identified in the SEC’s
          Complaint as the broker-dealer involved in the Second Offering, will testify about
          Stonecrest Partners’ role in the Second Offering, including preparing and
          distributing the promotional materials. Compl. ¶ 62.

       b. Josh Black, Element 7. Mr. Black, a resident of California and Licensing &
          Compliance Officer at Element 7, the third-party facilitator (the “License
          Facilitator”), will testify about Element 7’s sale of licenses to American Patriot
          Brands. Compl. ¶ 69.

       c. Robert DiVito, Element 7. Mr. DeVito, a resident of California and Licensing &
          Compliance Officer at Element 7, the third-party facilitator (the “License
          Facilitator”), will testify about Element 7’s sale of licenses to American Patriot
          Brands. Compl. ¶ 69.

       d. Gen. Wesley Clarke. Gen. Clarke, resident of Little Rock, Arkansas, referred to
          in the SEC’s Complaint as a famous retired United States Army General, will
          testify about his relationship with American Patriot Brands. Compl. ¶ 70.

       e. Jon Zimmerman, MGMT. Mr. Zimmerman, a resident of Los Angeles,
          California, will testify about the alleged APB Valuation. Compl. ¶ 71.




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6. In addition to Mr. Lee and Mr. Pallas, all key potential witnesses relating to the Third
   Offering reside outside of the District of Puerto Rico:

       a. Sydney Warburton. Mr. Warburton, a resident of California, will testify about
          the appraisal that valued the Oregon Farm at $17 million. Compl. ¶ 75.

       b. Oregon Appraisers. The appraisers who assessed the value of the Oregon Farm
          are located in Jackson County, Oregon, and will testify about their assessment of
          the Oregon Farm’s value. Compl. ¶ 75.

7. In addition to Mr. Lee and Mr. Pallas, all key potential witnesses relating to the so-called
   “sale of the Garden Units,” labeled by the SEC as the Fourth Offering, reside in
   California:

       a. The real estate brokerage firm referred to in the Complaint is based in the Central
          District of California. Two individuals affiliated with this firm are residents of
          California and will testify about the alleged sale of the Garden Units and their
          posting online. Compl. ¶¶ 80–82.

8. The outside accountants who have provided services to American Patriot Brands during
   the relevant times and also may be called as witnesses are all located outside of the
   District of Puerto Rico:

       a. Greg Andrews. Greg Andrews, an outside accountant and resident of Irvine,
          California, will testify about his work on American Patriot Brands’ financial
          statements, his methods, and his findings. Any relevant documents in Greg
          Andrews’ possession would be located in Irvine, California.

       b. Dave Horin. Dave Horin, an outside accountant and resident of Newport Beach,
          California, will testify about his work on American Patriot Brands’ financial
          statements, his methods, and his findings. Any relevant documents in Dave
          Horin’s possession would be located in Newport Beach, California.

       c. Marty Weigel. Marty Weigel, resident of Reno, Nevada, referred to throughout
          the SEC’s Complaint as Accountant 1, will testify about his work on American
          Patriot Brands’ financial statements, his methods, and his findings. Compl. ¶ 54.
          Any relevant documents in Marty Weigel’s possession would be located in Reno,
          Nevada.




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    9. The attorneys who advised American Patriot Brands with respect to each of these alleged
       Offerings and also may be called as witnesses are all located in California:1

             a. Randy Katz. Randy Katz, an attorney and resident of Orange County, California
                might testify about the Offerings. Any relevant documents in Randy Katz’s
                possession would be located in Orange County, California.

             b. Young Kim. Young Kim, an attorney and resident of Los Angeles, California,
                might testify about the Offerings. Any relevant documents in Young Kim’s
                possession would be located in Los Angeles, California.

             c. Arden Anderson. Arden Anderson, an attorney and resident of San Diego,
                California, might testify about the Offerings. Any relevant documents in Arden
                Anderson’s possession would be located in San Diego, California.

    10. Defending this suit in the District of Puerto Rico will be damaging to American Patriot
        Brands’ business because Mr. Lee and Mr. Pallas are involved heavily in the business’
        operations, including harvesting the crop at the Oregon Farm and overseeing shipments
        of American Patriot Brands’ products from Oregon to sale locations. At American
        Patriot Brands’ Oregon farm, outdoor growing season takes place between June and
        October. These are American Patriot Brands’ busiest and most important months during
        which the business grows most of its annual total yields. Having to fly twelve hours from
        California to Puerto Rico, or over fourteen hours from Medford, Oregon to Puerto Rico to
        defend this case in the District of Puerto Rico would impede their ability to run American
        Patriot Brands’ business.

    11. Mr. Rice travels to the Central District of California often as part of his current job. As
        such, defending this case in the Central District of California is far more convenient to
        him than defending this case in the District of Puerto Rico.

    12. Defending this suit in the District of Puerto Rico will be personally inconvenient to Ms.
        Patin, a key witness across all Four Offerings, because she is the principal caretaker for
        her elderly mother. Consequently, travel to Puerto Rico will be a hardship for her.

    13. Defending this suit in the District of Puerto Rico will be personally inconvenient to Mr.
        Pallas. Mr. Pallas is 75 years old and currently is being treated for hypertension and
        stress. The travel required to defend this case in Puerto Rico may exacerbate Mr. Pallas’
        health issues and expose him to more serious health issues.

    14. Defending this suit in the District of Puerto Rico will be personally inconvenient to Mr.
        Lee. Mr. Lee is his mother’s principal caretaker. Mr. Lee’s mother is 92 years old and
        suffers from dementia, diabetes, heart disease, and cancer. Mr. Lee provides his mother
        with daily care, including taking her to doctors’ appointments, and ensuring she receives
        the appropriate dosages of medicine.


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  Defendants and Relief Defendants have not asserted at this stage an advice of counsel defense, but they reserve the
right to do so at the appropriate point.

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    15. The SEC's lawyer ofrecord in this case resides and works in the Washington, D.C. area.

    16. Lead defense counsel, Paul Hastings LLP, has three offices in the Central District of
        California and plans to conduct the defense from its Orange County office.

Wherefore, pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

       Executed in Washington, D.C., this 1st Day of June 2023.




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